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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

RICHARD LOWERY, on behalf of             §
himself and others similarly situated,   §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §
                                         §
TEXAS A&M UNIVERSITY; M.                 §
KATHERINE BANKS, in her official         §
capacity as President of Texas A&M       §
University; ALAN SAMS, in his official §
                                           Civil Action No. 4:22-cv-3091
capacity as Interim Provost and Vice     §
President for Academic Affairs for Texas §
A&M University; ANNIE S.                 §
MCGOWAN, in her official capacity as §
Vice President and Associate Provost for §
Diversity at Texas A&M University; and §
N.K. ANAND, in his official capacity as §
Vice President for Faculty Affairs at    §
Texas A&M University,                    §
                                         §
       Defendants.                       §

       DEFENDANTS’ SUPPLEMENTAL BRIEF ON JUSTICIABILITY

PAUL D. TRAHAN                            M. CARTER CROW
RYAN E. MELTZER                           LAYNE E. KRUSE
NORTON ROSE FULBRIGHT US LLP              JESIKA SILVA BLANCO
98 San Jacinto Blvd., Suite 1100          NORTON ROSE FULBRIGHT US LLP
Austin, Texas 78701                       1301 McKinney, Suite 5100
                                          Houston, Texas 77010
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       In this action, Plaintiff alleges that TAMU has been discriminating against white

and Asian men in faculty hiring—a state of affairs that, in his view, excuses him from even

applying. Plaintiff repeatedly traces this hypothetical discrimination to one source: diversity,

equity, and inclusion initiatives at TAMU, administered in coordination with the university’s

Office for Diversity. See FAC ¶¶ 15, 22, 23, 26, 29, 32 (Dkt. 19). In fact, Plaintiff alleges

that the very “existence” of “so-called diversity, equity, and inclusion offices” is

“encouraging wholesale violations of civil-rights laws throughout our nation’s university

system.” Id. ¶ 11. Accordingly, in addition to declaratory relief, Plaintiff demands an order:

(1) “permanently enjoin[ing] the defendants from considering race or sex in the

appointment, promotion, or compensation of [TAMU’s] faculty”; and (2) appointing a

“court monitor” to (i) “oversee all decisions relating to the appointment, promotion, and

compensation of faculty at [TAMU] to ensure that these decisions are free from race and

sex discrimination of any sort” and (ii) “oversee the ‘diversity office’ at [TAMU].” Id.

¶ 66. He makes no demand for damages, nominal or otherwise. See id.

       As detailed in Defendants’ Notice of Supplemental Authority, Dkt. 28, Texas has

now enacted a statute that provides Plaintiff with the precise relief he seeks. Senate Bill 17,

captioned an act “relating to diversity, equity, and inclusion initiatives at public institutions

of higher education,” was signed into law on June 17, 2023. Tex. S.B. 17, 88th Leg., R.S.

(2023) (codified at Tex. Educ. Code § 51.3525). Under the new law, beginning January 1,

2024, the governing board of any public institution of higher education “shall ensure that

each unit of the institution” does not, “except as required by federal law”: (1) “establish or

maintain a diversity, equity, and inclusion office,” either directly or through a third party;

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(2) “compel, require, induce, or solicit any person to provide a diversity, equity, and

inclusion statement or give preferential consideration to any person based on the provision

of a diversity, equity, and inclusion statement”; or (3) “give preference on the basis of race,

sex, color, ethnicity, or national origin to an applicant for employment, an employee, or a

participant in any function of the institution.” Id. § 51.3525(b)(1)(A)–(D). TAMU is now

in the process of implementing this law. See Ex. 1 (TAMUS Memo (June 26, 2023)).

       The enactment of Senate Bill 17 dispels any lingering doubt as to the justiciability

of this case. Not only has Plaintiff failed to carry his burden under Rule 12(b)(1) to establish

his standing as a factual matter to press each of his claims, 1 but judicial review is now

foreclosed on grounds of either mootness or ripeness. It is axiomatic that “Article III

restrict[s] [federal] jurisdiction to cases and controversies.” Freedom from Religion Found.

v. Abbott, 58 F.4th 824, 831 (5th Cir. 2023) (“FFRF”). And “[t]here must be a case or

controversy through all stages of a case—not just when a suit comes into existence but

throughout its existence.” Id. (quoting Yarls v. Bunton, 905 F.3d 905, 909 (5th Cir. 2018)).

       As to mootness, “any set of circumstances that eliminates actual controversy after

the commencement of a lawsuit renders that action moot.” Id. (quoting DeOtte v. Nevada,



1
  Plaintiff’s suggestion at the May 31 hearing that his burden is lighter at the pleadings
stage on a factual challenge to federal jurisdiction is contrary to Fifth Circuit law. See, e.g.,
Kling v. Hebert, 60 F.4th 281, 284–85 (5th Cir. 2023) (rejecting argument that “it is
improper to consider any evidence outside the pleadings at the Rule 12 stage” and “[s]o
long as a plaintiff has pleaded a justiciable remedy, there can be no question of the court’s
subject matter jurisdiction until summary judgment” as contrary to “ample precedent in
this circuit and others supporting factual attacks via Rule 12(b)”); Deutsch v. Annis Enters.,
Inc., 882 F.3d 169, 173 n.1 (5th Cir. 2018) (per curiam) (same, in context of standing). This
alone is dispositive. See Dep’t of Educ. v. Brown, 600 U.S. ----, slip op. at 6, 9–10 (2023).
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20 F.4th 1055, 1064 (5th Cir. 2021)). Statutory changes that discontinue a challenged

practice generally meet this standard. See FFRF, 58 F.4th at 832 (citing cases). The en banc

Fifth Circuit applied this principle near-unanimously earlier this year in Daves v. Dallas

County, Texas, 64 F.4th 616 (5th Cir. 2023). There, the Court held that “substantial changes

made by the Texas legislature to procedures for assessing bail” mooted claims for injunctive

relief against Dallas County’s pretrial bail system. Id. at 633. Noting that the new state law

was “enacted after the initial panel decision in this case and pending our en banc review,”

the Fifth Circuit agreed with the district court that the plaintiffs’ claims had become non-

justiciable. Id. at 633–34. “To rule on the status of S.B. 6 and its procedures at this point,

based on evidence largely generated during proceedings that occurred pre-amendment,” the

Court wrote, “would constitute no more than an advisory opinion.” Id. at 634. Moreover, the

fact that the named plaintiffs did not have experience under the new law “calls into question

their ability to pursue this litigation for ongoing injunctive relief as injured parties, much

less class representatives.” Id. As for the plaintiffs’ efforts to resist mootness, the Court was

unequivocal: “Voluntary cessation is not involved here,” and the argument that the County’s

bail practices “remain unconstitutional irrespective of S.B. 6” is “incoherent” given that the

statute “specifically requires” the very measures the plaintiffs sought. Id. at 634–35.

       Does 1–7 v. Round Rock Independent School District, 540 F. Supp. 2d 735 (W.D.

Tex. 2007) (“RRISD”), is similarly instructive. There, the plaintiffs sued a school district

to challenge its policy of allowing the graduating classes at its high schools to vote on

whether to have a student say a prayer at commencement. Id. at 739. Before the plaintiffs

filed suit, several things happened: the student votes took place; three of the district’s four

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schools offered student-led prayers at commencement; and the Texas legislature enacted a

statute creating a limited public forum at graduations and prohibiting discrimination against

“a student speaker’s ‘voluntary expression of a religious viewpoint.’” Id. at 739, 743. The

Court held that the plaintiffs’ request for injunctive and declaratory relief was moot in light

of the new law. Id. at 745–46. “Although the statute does not explicitly forbid the specific

[voting] practice” at issue, the Court wrote, “such a practice is inconsistent with the clearly

expressed purpose of the statute.” Id. at 745. As a result, “an injunction requiring the School

District to refrain from holding future votes on student invocations would be nothing more

than an injunction to ‘follow the law.’” Id. The Court also rejected the plaintiffs’ proposal

to stay the case to “‘wait and see’ whether constitutional violations occur at . . . future

graduations,” observing that “[i]t is neither prudent nor within this Court’s power to preside

over an abstract argument that may someday become justiciable.” Id.

       Daves and RRISD track the facts at bar. In both cases, the plaintiffs challenged the

policies of a political subdivision of the State of Texas, and the state legislature enacted a

new law that effectively barred those policies and afforded the plaintiffs the relief they

sought through litigation. Further, the courts in both cases rejected the arguments advanced

by Prof. Lowery. See Dkt. 29 at 2–3. The voluntary cessation doctrine, as its name implies,

has no application where the purported “cessation” is compelled by the actions of a third

party. See Daves, 64 F.4th at 634; see also Env’t Conservation Org. v. City of Dallas, 529

F.3d 519, 527–28 (5th Cir. 2008); cf. Holloway v. City of Va. Beach, 42 F.4th 266, 275 (4th

Cir. 2022); ABA v. FTC, 636 F.3d 641, 648 (D.C. Cir. 2011). Likewise, speculation that

the defendant state actors may not comply with the new law in the future does not overcome

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mootness. See RRISD, 540 F. Supp. 2d at 745–46; see also Amawi v. Paxton, 956 F.3d 816,

821–22 (5th Cir. 2020); Yarls, 905 F.3d at 910–11. Nor does the prospect of recovering

nominal damages—even when, unlike here, a plaintiff prays for that relief. See RRISD, 540

F. Supp. 2d at 746; see also Ward v. Santa Fe ISD, 34 F. App’x 150, 150 (5th Cir. 2002).2

       As to ripeness, Fifth Circuit law instructs that dismissal is appropriate when a case

is “abstract or hypothetical,” as when “the purported injury is ‘contingent [on] future events

that may not occur as anticipated, or indeed may not occur at all.’” Lopez v. City of

Houston, 617 F.3d 336, 341–42 (5th Cir. 2010). TAMU, like all other public universities

in Texas, is evaluating its policies, offices, and operations to ensure compliance with the

new Section 51.3525 of the Texas Education Code. See Ex. 1. Thus, setting aside the lack

of any hardship to Plaintiff from deferring resolution, “this case’s fitness for judicial review”

would benefit from “[f]urther factual development,” particularly given Plaintiff’s theory of

discrimination. Miss. State Democratic Party v. Barbour, 529 F.3d 538, 547 (5th Cir.

2008); see also Veasey v. Abbott, 796 F.3d 487, 497 n.7 (5th Cir. 2015) (issue of effect of

new state law was unripe where agency had yet to release implementing regulations),

vacated in part on other grounds, 830 F.3d 216 (5th Cir. 2016) (en banc); Tex. Democratic

Party v. Scott, 617 F. Supp. 3d 598, 606–07 (W.D. Tex. 2022) (declining to “analyze

policies and laws that have not been enacted” or evaluate the effect of pandemic conditions

on future elections); cf. Daves, 64 F.4th at 634–35; RRISD, 540 F. Supp. 2d at 745–46.

       In sum, Plaintiff’s claims are non-justiciable and should be dismissed.


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  In fact, Plaintiff has denied as much. See Dkt. 25 at 8 (“The relief that Mr. Lowery requests
is prospective in nature, and he is not seeking money damages or retrospective relief.”).
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Dated: June 30, 2023                      Respectfully submitted,


                                          /s/ M. Carter Crow
                                              M. Carter Crow
                                              State Bar No. 05156500
                                              carter.crow@nortonrosefulbright.com
                                          1301 McKinney, Suite 5100
                                          Houston, TX 77010-3095
                                          Telephone: (713) 651-5151
                                          Facsimile: (713) 651-5246
OF COUNSEL
NORTON ROSE FULBRIGHT US LLP              Attorney-in-Charge for Defendants Texas
Layne E. Kruse                            A&M University, M. Katherine Banks,
State Bar No. 11742550                    Alan Sams, Annie S. McGowan, and N.K.
layne.kruse@nortonrosefulbright.com       Anand
Paul Trahan
State Bar No. 24003075
paul.trahan@nortonrosefulbright.com
Ryan Meltzer
State Bar No. 24092821
ryan.meltzer@nortonrosefulbright.com
Jesika Silva Blanco
State Bar No. 24098428
jesika.blanco@nortonrosefulbright.com




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                          CERTIFICATE OF WORD COUNT

       Pursuant to Rule 18(c) of this Court’s Procedures, I hereby certify that, according

to Microsoft Word, Defendants’ Supplemental Brief on Justiciability contains 1,664 words,

exclusive of the case caption, signature block, and certificates.

                                                /s/ M. Carter Crow
                                                M. Carter Crow
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                            CERTIFICATE OF SERVICE

      Pursuant to Local Rule 5.3, I hereby certify that Defendants’ Supplemental Brief on

Justiciability has been served on all parties today, June 30, 2023, via CM/ECF.

                                              /s/ M. Carter Crow
                                              M. Carter Crow
